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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

SYMBOLOGY INNOVATIONS LLC,                                 )
                                                           )
       Plaintiff,                                          )
                                                           ) C.A. NO. 1:18-cv-01616-MN
       v.                                                  )
                                                           )
THAT’S IT NUTRITION LLC,                                   )
                                                           )
       Defendant.                                          )

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
             Plaintiff Symbology Innovations LLC, pursuant to Fed. R. Civ. P. 41 (a), hereby

provides notice that it dismisses all of its claims in this action WITH PREJUDICE. Each party

shall bear its own costs, expenses, and attorneys' fees.

 Dated: February 5, 2019                         Respectfully Submitted,

                                                 DEVLIN LAW FIRM LLC

                                                 /s/ Timothy Devlin
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                                                 SYMBOLOGY INNOVATIONS LLC
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on February 5, 2019, to all counsel of record who are deemed to have

consented to electronic service via the Court's CM/ECF system per Local Rule CV-5(a)(3).

                                     /s/ Timothy Devlin
                                   Timothy Devlin (#4241)
